Case 3:19-cv-01693-ADC Document 2-3 Filed 07/18/19 Page 1of1

®JS 44 (Rev. 11/04)

by local rules of court. This form, approved by the Judicial Conference of the United

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor een the filing and service of pleadings or other ports as required by law, except as provided
n

the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

tates in September 1974, is required for the use of t

e Clerk of Court for the purpose of initiating

 

I. (a) PLAINTIFFS

DEFENDANTS

 

 

 

UNITED STATES OF AMERICA

 

 

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S, PLAINTIFF CASES)

(c) Attorney's (Firm Name,

Address, and Telephone Number)

$1,000,000.00 contained in Charles Schwab & Co.,
Inc. account #9991-8933, in the name of Donald Keith
ELLISON, seized on April 26, 2019, ET. AL.,

 

 

NOTE:

Attorneys (If Known)

 

 

David O. Martorani-Dale, AUSA, 350 Carlos Chardon Ave, Suite
1201, Hato Rey, PR 00918

 

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

 

 

‘Tl. BASIS OF JURISDICTION

(Place an “X" in One Box Only)

 

 

(For Diversity Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES Place an~X” in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COMPLAINT:

VIL RELATED CASE(S)

IF ANY

 

 

 

 

UNDER F.R.C.P. 23

(See instructions):

JUDGE

JURY DEMAND:

DOCKET NUMBER

 

XJ1 (U.S. Government (13 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 (1 _ Incorporated or Principal Place O4 04
of Business In This State
2 U.S. Government 4 Diversity Citizen of Another State 2 © 2 Incorporated and Principal Place Os O85
Deféridant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O3 O8 3 > Foreign Nation Ge O86
Foreign Country
IV. NATURE OF SUIT (Place an “xX” in One Box Only)

CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
© 110 Insurance PERSONAL INJURY PERSONAL INJURY |[( 610 Agriculture 7 422 Appeal 28 USC 158 C1 400 State Reapportionment
© 120 Marine (1 310 Airplane (1 362 Personal Injury - 1 620 Other Food & Drug (1 423 Withdrawal © 410 Antitrust
77 130 Miller Act 1 315 Airplane Product Med. Malpractice C1 625 Drug Related Seizure 28 USC 157 1 430 Banks and Banking
1 140 Negotiable Instrument Liability C365 Personal Injury - of Property 21 USC 881 1 450 Commerce
© 150 Recovery of Overpayment [1 320 Assault, Libel & Product Liability 1 630 Liquor Laws PROPERTY RIGHTS 1 460 Deportation

& Enforcement of Judgment Slander 1 368 Asbestos Personal | 640 R.R. & Truck O 820 Copyrights 1 470 Racketeer Influenced and
C1 151 Medicare Act 1 330 Federal Employers’ Injury Product 1 650 Airline Regs. 77 830 Patent Corrupt Organizations
C1 152 Recovery of Defaulted Liability Liability (1 660 Occupational (7 840 Trademark 1 480 Consumer Credit
Student Loans (1 340 Marine PERSONAL PROPERTY Safety/Health 1 490 Cable/Sat TV
(Excl. Veterans) (1 345 Marine Product (1 370 Other Fraud (3 690 Other 1 810 Selective Service
1 153 Recovery of Overpayment Liability 371 Truth in Lending LABOR SOCIAL SECURITY (1 850 Securities/Commodities/
of Veteran’s Benefits 1 350 Motor Vehicle (1 380 Other Personal 1 710 Fair Labor Standards C1 861 HIA (1395ff) Exchange
(1 160 Stockholders’ Suits (1 355 Motor Vehicle Property Damage Act © 862 Black Lung (923) C1 875 Customer Challenge
1 190 Other Contract Product Liability C1 385 Property Damage O 720 Labor/Mgmt. Relations | 863 DIWC/DIWW (405(g)) 12 USC 3410
(1 195 Contract Product Liability | 360 Other Personal Product Liability O 730 Labor/Mgmt.Reporting | [1 864 SSID Title XVI [1 890 Other Statutory Actions
(1 196 Franchise Injury & Disclosure Act C1 865 RSI (405(2)) _ 891 Agricultural Acts
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |(1 740 Railway Labor Act FEDERAL TAX SUITS 1 892 Economie Stabilization Act
(1 210 Land Condemnation 1 441 Voting [1 510 Motions to Vacate |{1 790 Other Labor Litigation | 870 Taxes (U.S. Plaintiff 1 893 Environmental Matters
(1 220 Foreclosure 1 442 Employment Sentence 1 791 Empl. Ret. Inc. or Defendant) 1 894 Energy Allocation Act
(1 230 Rent Lease & Ejectment 1 443 Housing/ Habeas Corpus: Security Act 0 871 IRS—Third Party (1 895 Freedom of Information
240 Torts to Land Accommodations C1 530 General 26 USC 7609 Act
C1 245 Tort Product Liability 1 444 Welfare (1 535 Death Penalty (1 900Appeal of Fee Determination
© 290 All Other Real Property 1 445 Amer. w/Disabilities - [7 540 Mandamus & Other Under Equal Access
Employment 1 $50 Civil Rights to Justice
1 446 Amer. w/Disabilities - | 555 Prison Condition 1 950 Constitutionality of
Other State Statutes
1 440 Other Civil Rights
V. ORIGIN (Place an “X™ in One Box Only) ‘Transferred from e eal tO DSSirict
‘ansferre udge
a1 Original 2 Removed from O 3 Remanded from 4 Reinstated or Os another district O6 Multidistrict a7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
: 1 "Gen thinks Shine A ea ea salivecsils):
Title 18, United States Code, Section § 981(a)(1)(C); Title 18, United States Code, Section 981(a)(1)(D); y
VI. CAUSE OF ACTION  fritie 28, United States Code, Section 2461(c); Title 18, United States Code, Section 1031; Title 18,
United States Code, Section 371; Title 18, United States Code, Section 201; Title 18, United States Code,
VII. REQUESTED IN Section 982(a)(3)\(C), and Title 18, United States Code, Section 984. nly if demanded in complaint:

OYes No

 

DATE
07/19/2019

 

 

 

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

 

JUDGE

MAG, JUDGE
